

People v Jones (2019 NY Slip Op 07092)





People v Jones


2019 NY Slip Op 07092


Decided on October 2, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 2, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
MARK C. DILLON
JOHN M. LEVENTHAL
VALERIE BRATHWAITE NELSON, JJ.


2007-06846
 (Ind. No. 2188/06)

[*1]The People of the State of New York, respondent,
vLeon Jones, appellant.


Leon Jones, Stormville, NY, appellant pro se.
Madeline Singas, District Attorney, Mineola, NY (Daniel Bresnahan and Laurie K. Gibbons of counsel), for respondent.
Joseph F. DeFelice, Kew Gardens, NY, former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated April 28, 2009 (People v Jones, 61 AD3d 995), affirming a judgment of the County Court, Nassau County, rendered July 16, 2007.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
MASTRO, J.P., DILLON, LEVENTHAL and BRATHWAITE NELSON, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








